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Yonatan Even
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New York


February 7, 2025

Re: Epic Games, Inc. v. Apple Inc., No. 4:20-cv-5640 (N.D. Cal.)

Dear Counsel,

I write on behalf of Epic Games, Inc. (“Epic”) in response to your letters of January 8, 2025, and
February 5, 2025.

Epic treats and will continue to treat as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
ONLY” (pursuant to the Amended Protective Order, Dkt. 274 (the “PO”)) any document
appropriately designated as such under Section 5.2 of the PO.

Epic does not agree to Apple’s other demands reflected in your letters and reserves all rights.


                                                 Sincerely,



                                                 Yonatan Even

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